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                           ROBERT B. PINCUS in his capacity as
                 Special Master for the United States District Court of Delaware
                                   108 Rockford Grove Lane
                                     Wilmington, DE 19806

                                                                                      June 16, 2021


BY HAND DELIVERY & CM/ECF

The Honorable Leonard P. Stark
Chief Judge
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801-3570

       Re:     Crystallex International Corp. v. Bolivarian Republic of Venezuela,
               D. Del. C.A. No. 1:17-mc-00151-LPS

Dear Chief Judge Stark:

        By order dated April 13, 2021 (D.I. 258), Your Honor appointed me as Special Master in
this case to design, oversee, and implement the sale of Petroleos de Venezuela, S.A.’s shares of
PDV Holding Inc. On May 27, 2021, Your Honor issued the Order Regarding Special Master
(D.I. 277, the “May 27 Order”)1 setting forth, among other things, various obligations and duties
applicable to the Special Master, the Parties, and ConocoPhillips (each as defined in the May 27
Order), including my obligation to enter a protective order to ensure that confidential information
provided or exchanged during the course of my tenure is properly protected from disclosure (D.I.
277 at ¶ 2).

       After preparing a proposed protective order, I requested that the Parties and
ConocoPhillips provide their comments to me. After receiving comments, I prepared a revised
order which I believed represented the comments received and my concerns regarding the receipt
and disclosure of confidential information. After receiving further comments on the revised
proposed order this week, I have prepared a final proposed Special Master Confidentiality Order,
attached as Exhibit A, that, with the following exception, I believe is acceptable to the parties.

        The remaining issue concerns whether or not Crystallex and ConocoPhillips should be
allowed to designate information as “Highly Confidential” and object to such designation by the
Venezuela Parties. Pursuant to the agreed upon terms of the Special Master Confidentiality
Order, information designated “Highly Confidential” cannot be shared with any of the other
Parties, ConocoPhillips, their outside counsel, or any other person or entity, and shall not be filed
with the Court. CITGO objects to Crystallex’s and ConocoPhillips’ request to do so as
inconsistent with the May 27 Order which only provides for the Venezuela Parties to designate
information as Highly Confidential. CITGO further objects to the proposal to allow objections

1 All capitalized terms used but not otherwise defined herein, have the meanings ascribed to such
terms in the May 27 Order.
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to designations of Highly Confidential information by the Venezuela Parties. I believe that any
order I enter will result in the parties objecting to Your Honor as a result of this substantial
dispute.

       Without a protective order in place, the Parties and ConocoPhillips have not yet begun to
share confidential information with me. Accordingly, I respectfully request that Your Honor
order an expedited schedule for objections as the Court did previously with respect to the May 27
Order. See D.I. 264.

       I am available at the convenience of the Court, should Your Honor have any questions.

                                                            Respectfully submitted,

                                                            /s/ Robert B. Pincus

                                                            Robert B. Pincus, in my capacity as
                                                            Special Master for the United States
                                                            District Court of Delaware


Enclosure

cc: Counsel of Record (by CM/ECF and E-Mail)
